         Case: 22-2003      Document: 172       Page: 1      Date Filed: 03/22/2023




                        UNITED STATES COURT OF APPEALS
                             FOR THE THIRD CIRCUIT



                    Nos. 22-2003, 22-2004, 22-2005, 22-2006, 22-2007,
                           22-2008, 22-2009, 22-2010, 22-2011



                              In Re: LTL MANAGEMENT LLC,
                                                   Debtor

                     OFFICIAL COMMITTEE OF TALC CLAIMANTS,
                                                Appellant
                                       v.

    THOSE PARTIES LISTED ON APPENDIX A TO COMPLAINT AND JOHN AND JANE
                                DOES 1-1000

                    (District Court Civil No.: 21-bk-30589; 21-ap-03032)



                           SUR PETITION FOR REHEARING


    Present: JORDAN, SHWARTZ, KRAUSE, RESTREPO, BIBAS, PORTER, MATEY,
                       FREEMAN, CHUNG, Circuit Judges,
                   AMBRO* and FUENTES*, Senior Circuit Judges

                                          ORDER

        The petition for rehearing (D.I. 153) filed by appellee in the above-entitled case

having been submitted to the judges who participated in the decision of this Court and to

all the other available circuit judges of the circuit in regular active service, and no judge


*
  Pursuant to Third Circuit I.O.P. 9.5.3, the votes of Judge Fuentes and Judge Ambro are
limited to panel rehearing only. Judge Ambro assumed senior status on February 6, 2023.
         Case: 22-2003      Document: 172         Page: 2   Date Filed: 03/22/2023




who concurred in the decision having asked for rehearing, and none of the eligible judges

of the circuit in regular service having voted for rehearing, the petition for rehearing by

the panel and the Court en banc is denied.



                                          BY THE COURT,



                                              s/ THOMAS L. AMBRO
                                                  Circuit Judge

Dated: March 22, 2023
JK/cc: All Counsel of Record




                                              2
